
Gunter, J.
Certiorari out of the district court of El Paso county directed to appellee hoard whereby it was sought to review its action canceling a license to sell liquors held by appellant. A hearing upon the return to the writ and certain evidence resulted in a judgment quashing the writ and dismissing the action.
If appellee board had jurisdiction of the subject-matter and of the person, in its action annulling the iicense, such action cannot be reviewed on certiorari. The province of certiorari is to inquire only into the question of jurisdiction. — City-Council of Cripple Creek v. Hanley, 19 Colo. App. 390, and authorities cited.
It was incumbent upon appellant in order to justify the court in issuing the writ of certiorari to review the action of appellee board, to show that such board acted without jurisdiction in its cancellation of appellant’s license. There was no showing before the district court that appellee board was without jurisdiction to make the order cancelling the license of appellee. For aught that appears it acted within ■its jurisdiction.
Judgment affirmed. ■ Affirmed.
